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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              EL PASO DIVISION

                                                    )
EL PASO COUNTY, TEXAS                               )
500 E. San Antonio                                  )
El Paso, TX 79901 and                               )
                                                    )
BORDER NETWORK FOR HUMAN RIGHTS                     )
2115 N. Piedras St                                  )
El Paso, TX 79930,                                  )
                                                    )
                    Plaintiffs,                     ) Civil Action No. 3:19-cv-66-DB
                                                    )
       v.
                                                    )
DONALD J. TRUMP, in his official capacity as        )
President of the United States of America,          )
                                                    )
MARK T. ESPER, in his official capacity as Acting   )
Secretary of Defense,                               )
                                                    )
KEVIN McALEENAN, in his official capacity as        )
Acting Secretary of Homeland Security,              )
                                                    )
TODD T. SEMONITE, in his official capacity as       )
Commanding General                                  )
United States Army Corps of Engineers,              )
                                                    )
DAVID BERNHARDT, in his official capacity as        )
Acting Secretary of the Interior,                   )
                                                    )
STEVEN T. MNUCHIN, in his official capacity as      )
Secretary of the Treasury,                          )
                                                    )
                    Defendants.                     )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
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                                NOTICE OF CROSS-APPEAL

       Please take notice that El Paso County, Texas, and the Border Network for Human

Rights, Plaintiffs in the above-captioned case, hereby appeal to the United States Court of

Appeals for the Fifth Circuit from this Court’s order (ECF No. 136) and opinion (ECF No. 137)

of December 10, 2019, to the extent they deny permanent declaratory and injunctive relief as to

Defendants’ 10 U.S.C. § 284 construction projects, and any prior orders or rulings merged

therein.



Dated: December 20, 2019                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this same date, I electronically filed the foregoing document with

the U.S. District Court for the Western District of Texas by using the CM/ECF system, which will

send notifications of such filing to all CM/ECF counsel of record.




 Dated: December 20, 2019                           /s/ Kristy Parker
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